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                            UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

REINALDO RODRIGUEZ,

             Plaintiff,
                                                   Case No.: 6:17-cv-180-Orl-31KRS
vs.

O&L LAW GROUP, P.L.,

              Defendant.                       /


                                 NOTICE OF SETTLEMENT

   In accordance with Local Rule 3.08(a), Plaintiff hereby submits this Notice of Settlement to
notify the Court that this lawsuit has been settled, and to request 30 days in which to file the
dismissal.

                                    CERTIFICATE OF SERVICE

        I hereby certify that on March 28, 2017, I electronically filed the foregoing with the Clerk
of the Court by using the CM/ECF system.
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